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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 ERIK PETERSON,                                   Case No. 21‐CV‐458 (NEB/KMM)

                     Plaintiff,

 v.                                            ORDER ON MOTION TO AMEND,
                                              MOTIONS TO DISMISS, AND MOTION
 CITY OF NORTH ST. PAUL, TOM                       FOR ATTORNEYS’ FEES
 LAUTH, ROBB L. OLSON, and JASON
 ZIEMER,

                     Defendants.



      In January 2014, Erik Peterson received a parking ticket while parked in a North

St. Paul city lot. Peterson went to the police station to protest the ticket. After a

confrontation with officers, Peterson was arrested for disorderly conduct; several

complaints and lawsuits followed. First, Peterson filed two citizen complaints against the

officers involved in the January incident. Chief of Police Tom Lauth investigated the

complaints and issued a report determining that Peterson’s claims were unsubstantiated.

Peterson then filed a complaint about that investigation. The City of North St. Paul

retained attorney Robb L. Olson, a defendant here, to conduct an independent review of

the third complaint. Attorney Olson concluded that the complaint was unfounded, and

in response, Peterson sued Attorney Olson, the City, Chief Lauth, and City Manager

Jason Ziemer. He alleges several procedural due process violations: a general claim based
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on the “complained of events,” a violation stemming from Olson’s review of the report,

and a violation based on the City’s issuance of a trespass notice that restricted him from

entering North St. Paul City Hall. Defendants moved to dismiss, and some Defendants

moved for attorneys’ fees. After Defendants filed their motions to dismiss, Peterson

sought leave to amend his Complaint. For the reasons that follow, the Court grants the

motions to dismiss and the motion for attorneys’ fees and denies the motion to amend.

                                     BACKGROUND

       In January 2014, Peterson received a ticket for parking in a North St. Paul city lot

for more than twelve hours, and his vehicle was towed. (ECF No. 1‐21 (“Lauth Report”)

at 1); Peterson v. Ellis, No. A20‐520, 2020 WL 7689735, at *1 (Minn. Ct. App. Dec. 28, 2020).

He then went to the North St. Paul Police Department’s front desk to protest the ticket.

(Lauth Report at 1.) While there, Peterson became “angry and upset,” and his tone was

“loud, aggressive and confrontational.” (Id. at 2.) He demanded to speak to the Chief of

Police, but Chief Lauth was unavailable, so the front desk staff member called Captain

Dustin Nikituk to speak with Peterson. (Id.) Peterson directed “offensive profanities” and

“derogatory remarks” at Captain Nikituk. (Id.) Captain Nikituk advised Peterson to calm




1The Court may consider “exhibits attached to the complaint whose authenticity is not
questioned” without converting Defendants’ motions to dismiss into motions for
summary judgment. Miller v. Redwood Toxicology Lab., Inc., 688 F.3d 928, 931 n.3 (8th Cir.
2012).


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down, but Peterson persisted, and eventually approached Captain Nikituk in an

intimidating manner. (Id.)

       Captain Nikituk then asked staff to summon additional officers. (Id.) Chief Lauth

arrived at the common area and heard Peterson make derogatory remarks toward the

officers. (Id.) Two officers, Mike Lang and Jason Maltby, followed Peterson as he exited

City Hall. (Id.) The officers told Peterson that he was no longer welcome at City Hall

because of his disruptive behavior. (Id.) Peterson responded by yelling and directing

profanities at the officers. (Id.) The officers told Peterson to leave, but Peterson refused,

so the officers arrested him for disorderly conduct.2 (Id. at 2–3.)

       In the ensuing months, Peterson filed two “Citizen Complaint Forms” with the

City. (See ECF No. 1 (“Compl.”) ¶ 12; ECF No. 14, Exs. B, C.) In these complaints, Peterson

claimed that: (1) Captain Nikituk assaulted him in the police hallway, including by

“putting his shoulder into [Peterson’s] chest”; (2) Officer Lang or Maltby opened his car

door without his permission; (3) Captain Nikituk illegally arrested him “to cover up

[Nikituk’s] crime”; and (4) Officer Maltby did not correctly report the January 2014

incident. (ECF No. 14, Exs. B, C.) Chief Lauth conducted a formal investigation. (See ECF

No. 32‐1, Ex. A (“Policy”).) Chief Lauth found that each of Peterson’s complaints was

unsubstantiated, so the officers were exonerated. (Lauth Report at 3–5.)




2Peterson’s arrest may have also resulted from his refusal to remove his hands from his
pockets after the officers instructed him to do so. Peterson, 2020 WL 7689735, at *1.


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       In October 2015, Peterson went to City Hall to make a data request to help him

investigate a possible civil rights suit against the officers. (Compl. ¶ 45.) About a week

later, the City served Peterson with a trespass notice that prohibited Peterson from

entering City Hall and the surrounding parking lots. (Id. ¶ 46; ECF No. 1‐4.) The trespass

notice was in effect for one year, until November 3, 2016. (ECF No. 1‐4.) In a letter

accompanying the trespass notice, City Manager Ziemer explained that if Peterson had

any legitimate business at City Hall, he would have to conduct such business by

telephone, U.S. Mail, email, or by having an agent act on his behalf. (Id.)

       In 2016, Peterson sued Captain Nikituk and Officers Lang and Maltby, alleging

unlawful seizure in violation of the First and Fourth Amendments. Peterson v. Nikituk,

No. 16‐CV‐743 (RHK/SER), ECF No. 1‐1 (D. Minn. Mar. 23, 2016). After the officers filed

a motion for summary judgment, the parties stipulated to dismiss the action with

prejudice. Id., ECF No. 26 (D. Minn. May 4, 2017). Based on the stipulation, Judge Richard

H. Kyle dismissed the action with prejudice. Id., ECF No. 28 (D. Minn. May 5, 2017).

       More than two‐and‐a‐half years after Chief Lauth issued his report, in

November 2017, Peterson filed a third Citizen Complaint Form. (ECF No. 14, Ex. D.) In

general, Peterson claimed that Chief Lauth failed to properly investigate his complaints

and committed two fifth‐degree assaults against Peterson—one during the January 2014

incident and the other when Chief Lauth attached to his report a copy of the Minnesota




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statute criminalizing the submission of a false police report.3 (Id.) In accordance with its

Policy, the City retained Attorney Olson to review this third complaint. (Compl. ¶ 35;

Policy § V.B.2 (requiring the assignment of the investigation to an “external agency”

when the Chief of Police is the subject of the complaint).) Olson determined that

Peterson’s third complaint was unfounded and recommended the City take no further

action. (ECF No. 1‐3.)

       In March 2020, Peterson filed a second lawsuit stemming from the January 2014

incident. Peterson v. City of N. St. Paul, No. 20‐CV‐854 (ECT/KMM), ECF No. 1 (D. Minn.

Mar. 31, 2020). In this suit, brought only against the City, Peterson alleged that the City

violated his procedural due process, substantive due process, and Fourth Amendment

rights by arresting him and requesting Olson’s review of Peterson’s third complaint. Id.,

ECF No. 13 ¶¶ 41–57 (D. Minn. July 31, 2020). After the City moved to dismiss, Peterson

voluntarily dismissed the case. Id., ECF Nos. 22, 24 (D. Minn. Sept. 5, 2020, Sept. 8, 2020).

       Peterson now brings his third lawsuit based on the January 2014 incident and its

fallout. He alleges three procedural due process violations. First, Peterson alleges that he

was denied his right to procedural due process as a result of “defendants’ unlawful

conduct.”4 (Compl. ¶¶ 47–53.) Second, Peterson alleges that Attorney Olson violated his




3 In Peterson’s view, this was an assault because Chief Lauth attached this statute “in an
attempt to intimitead [sic] or cause fear in Peterson.” (ECF No. 14, Ex. D.)
4 As discussed below, it is not clear against which Defendants Peterson brings this claim,

or on what conduct it is based. See infra Analysis II.A.


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due process rights by conducting a deficient investigation into Peterson’s third

complaint. (Id. ¶¶ 54–61.) Finally, Peterson alleges that City Manager Ziemer violated his

procedural due process rights by denying him access to City Hall. (Id. ¶¶ 62–67.) All

Defendants move to dismiss for failure to state a claim, (ECF Nos. 11, 17), and all

Defendants except Attorney Olson move for attorneys’ fees and costs. (ECF No. 29.) More

than three months after Defendants filed their motions to dismiss, Peterson moved to

amend his Complaint. (ECF No. 50.)

                                         ANALYSIS

       I.     Motion to Amend

       The Court should consider Peterson’s motion to amend before the motions to

dismiss. Pure Country, Inc. v. Sigma Chi Fraternity, 312 F.3d 952, 956 (8th Cir. 2002) (holding

that it was plainly erroneous for the district court to grant a motion to dismiss and then

deny a motion to amend as moot).

       The time for Peterson to amend as of right has passed, so he may only amend his

Complaint with the Court’s permission. Fed. R. Civ. P. 15(a)(2). Although leave to amend

should be “freely” granted “when justice so requires,” id., it may be denied when “there

are compelling reasons such as undue delay, bad faith, or dilatory motive, repeated

failure to cure deficiencies by amendments previously allowed, undue prejudice to the

non‐moving party, or futility of the amendment.” Sherman v. Winco Fireworks, Inc., 532

F.3d 709, 715 (8th Cir. 2008) (citation omitted). A proposed amendment is futile if it could



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not survive a motion to dismiss under Rule 12(b)(6). Hillesheim v. Myrom’s Cards & Gifts,

Inc., 897 F.3d 953, 955 (8th Cir. 2018). Accordingly, the proposed amended complaint

must allege “sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Id. (internal quotation marks and citation omitted).

       Peterson’s Amended Complaint contains two additions to his first Complaint.

First, Peterson seeks to add factual allegations concerning City Manager Ziemer’s

issuance of the trespass notice. (ECF No. 50‐2 (“Am. Compl.”) ¶¶ 45–50, 68, 70–75, 77–

79.) Second, Peterson adds language that alludes to a void for vagueness claim. (Id. ¶¶ 69,

76.) The Court concludes that both additions are futile.

       A. Additional Factual Allegations Regarding the Trespass Notice

       Peterson added allegations concerning City Manager Ziemer’s issuance of a

trespass notice. (Id. ¶¶ 45–50, 68, 70–75, 77–79.) These allegations relate to Peterson’s

claim that the issuance of the trespass notice violated his procedural due process rights.

(See id. ¶¶ 66–79.) But even with these additions, Peterson’s procedural due process claim

relating to the trespass notice would not survive a Rule 12(b)(6) motion. The Court must

therefore deny the motion to amend as to these added allegations. Humphreys v. Roche

Biomedical Labs., Inc., 990 F.2d 1078, 1082 (8th Cir. 1993) (“It is settled law that district

courts may properly deny leave to amend if the proposed changes would not save the

complaint.”) (citation omitted).




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          To state a claim for a procedural due process violation, the plaintiff must establish

that she was denied a property or liberty interest. Schmidt v. Des Moines Pub. Schs., 655

F.3d 811, 817 (8th Cir. 2011) (citation omitted). There is no property or liberty interest in

“having unlimited access to a public building.” Royer ex rel. Est. of Royer v. City of Oak

Grove, 374 F.3d 685, 689 (8th Cir. 2004). Courts have routinely concluded that members of

the public do not have a protected interest in being able to freely access public buildings.

E.g., id.; Williams v. Town of Greenburgh, 535 F.3d 71, 76 (2d Cir. 2008) (holding that a one‐

year ban from a community center did not deprive the plaintiff of a liberty interest);

Hannemann v. S. Door Cnty. Sch. Dist., 673 F.3d 746, 757–58 (7th Cir. 2012) (concluding that

a ban from public property did not deprive the plaintiff of a protected liberty interest);

Vincent v. City of Sulphur, 805 F.3d 543, 548–51 (5th Cir. 2015) (reasoning that a temporary

ban from city property, including city hall, did not violate any clearly established due

process rights). Peterson’s new factual allegations do not impact this analysis or alter the

Court’s conclusion. The City’s one‐year ban of Peterson from City Hall did not deprive

Peterson of a protected liberty interest, so his procedural due process claim against City

Manager Ziemer and the City of North St. Paul fails, rendering his proposed amendments

futile.

          B. Void for Vagueness

          Two of Peterson’s proposed additional allegations use language from the well‐

established test for void for vagueness. (Am. Compl. ¶¶ 69 (alleging that the City’s



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“unwritten policy” is “inherently vague” and “permits selective enforcement,” 76

(alleging that the “policy fails to give adequate notice of what conduct is prohibited”));

see Johnson v. United States, 576 U.S. 591, 595 (2015) (explaining that a law is

unconstitutionally vague if it “fails to give ordinary people fair notice of the conduct it

punishes,” or is “so standardless that it invites arbitrary enforcement”).

       But aside from the boilerplate legal conclusions contained in these two paragraphs

of the Amended Complaint, Peterson has failed to allege any facts demonstrating that he

is plausibly entitled to relief on any claim of unconstitutional vagueness. To start, it is not

clear what City policy Peterson claims is vague. Peterson alleges that the City had an

“unwritten policy to delegate authority to the City Manager to issue trespass notices

banning individuals from entering City hall.” (Am. Compl. ¶ 49.) But in other places,

Peterson complains of the City’s lack of guidelines to determine when to issue a trespass

notice. (E.g., id. ¶ 74.) And when asked at the hearing, Peterson could not identify which

specific policy he is claiming is unconstitutionally vague. Because he has not identified a

specific policy that is vague, Peterson’s void for vagueness claim would not survive a

motion to dismiss under Rule 12(b)(6), so amendment would be futile.

       II.    Motions to Dismiss

       Rule 12(b)(6) requires the Court to dismiss a complaint if it fails to plead “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). When reviewing a Rule 12(b)(6) motion, a court must “tak[e] all facts



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alleged in the complaint as true, and mak[e] reasonable inferences in favor of the

nonmoving party.” Smithrud v. City of St. Paul, 746 F.3d 391, 397 (8th Cir. 2014). Although

the factual allegations need not be detailed, they “must be enough to raise a right to relief

above the speculative level.” Twombly, 550 U.S. at 555. “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). The facial plausibility standard “asks for more than a sheer

possibility that a defendant has acted unlawfully.” Id. Thus, where a complaint alleges

“facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line

between possibility and plausibility of entitlement to relief’” and the Court must dismiss

it. Id. (quoting Twombly, 550 U.S. at 557).

           A. Construal of Count I

       Count One alleges a procedural due process violation, but it is unclear against

whom this claim is pled and upon what conduct it is based. (See Compl. ¶¶ 47–53.) For

example: Peterson alleges that he was denied procedural due process as a result of

“defendants’ unlawful conduct,” (Id. ¶ 53), but he does not specify what the allegedly

unlawful conduct is. Similarly, he alleges he had procedural due process rights “[a]t the

time of the complained of events,” (Id. ¶ 48), but fails to specify which “complained of

events” he is referring to. Finally, Peterson alleges his injuries were caused by “[t]he acts

or omissions of the defendants,” (Id. ¶ 51), but again fails to specifically plead which acts



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or omissions he is referring to. In sum, Count I fails to inform the Court of the basis of the

claim.

         In the absence of clarity on the basis for this claim, the Court deduces that the claim

is likely based on Chief Lauth’s review of Peterson’s first two complaints. Peterson’s

Complaint includes allegations concerning three events: (1) Chief Lauth’s investigation

of Peterson’s first two complaints, (Id. ¶¶ 10–34); (2) Attorney Olson’s review of

Peterson’s third complaint, (Id. ¶¶ 35–44); and (3) City Manager Ziemer’s issuance of a

trespass notice to Peterson, (Id. ¶¶ 45–46). The latter two set of allegations correspond to

Counts II and III, leaving only Peterson’s allegations about Chief Lauth’s investigation

unaccounted for. Because those allegations do not correspond to a claim, the Court

interprets Count I to be based on Chief Lauth’s investigation.

             B. Existence of a Protected Right

         A plaintiff bringing a procedural due process claim must allege that there is a

protected liberty or property interest at stake and that the defendant deprived him of that

interest without due process of law. Schmidt, 655 F.3d at 817 (citation omitted). At the

hearing, Peterson clarified that he is only claiming that he was denied a liberty interest,

not a property interest. A liberty interest may arise through the Constitution or state laws

and policies. Wilkinson v. Austin, 545 U.S. 209, 221 (2005) (citations omitted). Peterson has

failed to identify a protected liberty interest for any of his three claims, so they must be

dismissed.



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       1. Lauth’s Investigation and Report

       Although not evident from the face of the Complaint, Peterson seems to assert in

Count I that he had a constitutional right to an investigation that conformed with the

North St. Paul Police Department’s Policy. (Compl. ¶¶ 10–34 (alleging deficiencies with

Lauth’s report), 47–53; e.g., ECF No. 30 at 16 (“There is a City policy that gives plaintiff

an entitlement to an internal investigation of his complaint. By doing so, the City policy

creates a procedural due process right to a proper internal investigation.”).) Peterson

identifies myriad alleged deficiencies in Chief Lauth’s investigation. For example, Chief

Lauth failed to interview Peterson and other potential witnesses, and he did not provide

any written statements along with his report. (Compl. ¶ 19.) According to Peterson, there

are also multiple discrepancies between the police incident reports on which Chief Lauth

relied and what really happened during the January 2014 incident. (Id. ¶ 31.)

       Although state laws and policies may create protected liberty interests, “[t]he

simple specification of a particular procedure does not create” such an interest. Williams

v. Nix, 1 F.3d 712, 717 (8th Cir. 1993); see also Town of Castle Rock v. Gonzales, 545 U.S. 748,

764 (2005) (explaining that “an entitlement to nothing but procedure” cannot be the basis

for standing, much less a protected interest). State regulations only create a protectable

liberty interest when they (1) substantively limit official discretion; and (2) “contain

explicit mandatory language comprising specific directives to the decision maker that if

the regulations’ substantive predicate acts are present, a particular outcome must



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follow.” Williams, 1 F.3d at 717 (internal quotation marks and citation omitted). In other

words, the law or regulation must compel the government official to reach a “particular

outcome or response when certain criteria are found to exist.” Id. at 718. A court should

not pore over the regulation in search of any mandatory language—instead, the

mandatory language must pertain to the “particular interest in question.” Ky. Dep’t of

Corr. v. Thompson, 490 U.S. 454, 464 n.4 (1989).

       In general, a person is not entitled to an investigation of police misconduct, so

there is no constitutionally protected interest in an investigation. E.g., Vinyard v. Wilson,

311 F.3d 1340, 1356 (11th Cir. 2002). The presence of a police department policy governing

investigations does not change this result; the Policy does not grant Peterson a protected

liberty interest. The Policy merely outlines the procedure the Chief of Police must use to

investigate allegations of police misconduct—it does not mandate a specific substantive

outcome if the Chief finds certain predicates, at least as it pertains to the portions Peterson

highlights.

       In opposition, Peterson points, for instance, to Chief Lauth’s failure to include

written statements in his summary of the investigation. (Compl. ¶ 19.) The Policy states

that the Chief of Police “shall prepare a report . . . contain[ing] all relevant information.”

(Policy § V.B.7.) It must be organized into three sections, one of which is “investigation,”

and written statements must be included in that section (Id.; id. § V.B.7.b.) Chief Lauth’s

report included no written statements; in Peterson’s view, this constituted a denial of his



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liberty interest in an investigation that mandated the inclusion of written statements.

Peterson also claims that Chief Lauth’s failure to interview him, other department

members, and all other available witnesses, as the Policy requires, violated his due

process rights. (Compl. ¶¶ 19–20.) These parts of the Policy, however, are purely

procedural—they do not compel the Chief of Police to reach any particular outcome.

Williams, 1 F.3d at 717–18 (citation omitted). The Policy does not dictate what outcome

Chief Lauth should reach, it merely instructs him how to reach and present the outcome

of the investigation.

       Peterson’s claim also fails because he would have received no direct benefit from

an investigation that conformed with the Policy, so he was not entitled to such an

investigation. Cf. Gonzales, 545 U.S. at 768 (“[T]he benefit that a third party may receive

from having someone else arrested for a crime generally does not trigger protections

under the Due Process Clause, neither in its procedural nor in its ‘substantive’

manifestations.”). The failure of police to investigate alleged police misconduct or a

failure to perform a satisfactory investigation does not affect the complainant, so such

failures cannot be the basis for a procedural due process claim. Givens v. City & Cnty. of

S.F., No. C 06‐2505 MHP (pr), 2011 WL 1225584, at *2 (N.D. Cal. Apr. 1, 2011) (noting that,

aside from “perhaps emotional satisfaction,” a finding that police officers should be

disciplined would have no impact on plaintiff and thus plaintiff’s procedural due process

claim failed) (citations omitted); Merrick v. Kahley, No. 1:12‐CV‐1878, 2013 WL 2392997, at



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*12 (M.D. Pa. June 3, 2013) (concluding that there is no “constitutional right or interest in

the discipline or investigation of others”), report & recommendation adopted, No. 1:12‐cv‐

1878, ECF No. 15 (M.D. Pa. June 3, 2013). Peterson may have an “abstract need or desire”

to see the officers he claims wronged him punished, but he has no entitlement to this

outcome. Gonzales, 545 U.S. at 756.

       Peterson’s arguments in response are unavailing. He first attempts to distinguish

Defendants’ cases because those cases were not based on a department policy governing

investigations. (ECF No. 30 at 14–15.) Even accepting this distinction and assuming those

cases are inapplicable, Peterson would still have to show, under Williams v. Nix, that the

Policy requires a specific outcome under the circumstances in this case. 1 F.3d at 717. For

the reasons explained above, he has not done so. Peterson is correct that the Policy limits

the discretion of the Chief of Police as to how to conduct investigations into police

misconduct, but that is only half of what he must show to establish a protected liberty

interest.

       Second, Peterson claims that there is a special relationship between him and the

City because the Policy requires an investigation. (ECF No. 30 at 16.) The sole case

Peterson cites, Taylor ex rel. Walker v. Ledbetter, 818 F.2d 791 (11th Cir. 1987), does not

support his argument. In Taylor, the Eleventh Circuit held that a child involuntarily

placed in a foster home may bring a Section 1983 claim against state officials involved in

the foster care system, in part because there is a special relationship between state officials



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in charge of the foster care system and the children in the system. Id. at 797–98. Other

“special relationships” are generally custodial in nature and include “the relationship

between prisoners and wardens and hospitals and patients.” Id. at 798. In the Eighth

Circuit, a special relationship exists when the state has “affirmative duties of care and

protection with respect to particular individuals.” Glasgow v. Nebraska, 819 F.3d 436, 442

(8th Cir. 2016) (emphasis original) (citing DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs.,

489 U.S. 189, 198 (1989)). Peterson has not alleged that the City or its police department

had an affirmative duty of care and protection to Peterson, so the Court cannot conclude

that there is any special relationship.

       Peterson’s third argument is that the Policy contains “mandatory language” and

so it grants Peterson a protected liberty interest. (ECF No. 30 at 17–18.) This argument is

tantamount to claiming that the Policy compels a particular outcome, which, as explained

above, it does not. The cases Peterson cites underscore this point. In each, the court

concluded that the law or regulation required a certain outcome if the decisionmaker

found certain factual predicates. The statutes in Board of Pardons v. Allen and Greenholtz v.

Inmates of Nebraska Penal and Correctional Complex required the parole boards to order a

prisoner to be released if the board found certain facts. 482 U.S. 369, 377–78 (1987); 442

U.S. 1, 11–12 (1979). In Hewitt v. Helms, the statute set forth rules regarding whether, based

on certain facts, a prisoner could be held in solitary confinement. 459 U.S. 460, 471–72,

471 n.6 (1983). Thus, in each case the statute or regulation required a certain outcome—



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release from custody or from solitary confinement. By contrast, the Policy requires no

specific outcome—it grants latitude to the Chief of Police to reach one of multiple possible

conclusions based on the investigation. Peterson claims that “an investigation satisfying

the ‘substantive predicates’ set forth in the City policy” is a particular result the Policy

compels. (ECF No. 30 at 19.) But again, the Policy outlines nothing but the procedure for

conducting an investigation, and procedural requirements alone cannot sustain a due

process claim. The results contemplated by the Policy are “exonerated,” “sustained,” and

“not sustained.” (Policy § V.C.1.) The aspects of the Policy Peterson points to are merely

procedures to reach one of those outcomes—not outcomes themselves.

       2. Attorney Olson’s Investigation and Report

       Peterson’s similarly bases his procedural due process claim against Attorney

Olson on an alleged departure from the Policy. If the Chief of Police is the subject of a

complaint, the Policy requires the City to assign the investigation to an “external agency.”

(Policy § V.B.2.) Peterson claims that Attorney Olson’s firm, to whom the City assigned

the investigation, is not an “external agency” for purposes of the Policy. (Compl. ¶ 35.)

This claim fails for the same reasons Count One failed. This section of the Policy is also

merely procedural—it does not compel any certain outcome. Williams, 1 F.3d at 717–18.

Additionally, Peterson has no cognizable interest in ensuring that the investigation is

correctly assigned. Cf. Gonzales, 545 U.S. at 768.




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       Peterson also claims that Attorney Olson’s deficient investigation violated his

procedural due process rights. (Compl. ¶¶ 36–44.) Again, there is no constitutional right

to an investigation, so Peterson cannot bring a procedural due process claim based on

any alleged deficiencies. Vinyard, 311 F.3d at 1356.

       3. Trespass Notice

       For the reasons discussed above, supra Analysis Section I.A, Peterson has failed to

state a procedural due process claim based on the City issuing him a trespass notice. As

such, that claim is dismissed.

       III.   Motion for Attorneys’ Fees and Costs

       When a plaintiff has previously dismissed an action and files another suit based

on the same claim against the same defendant, Rule 41(d) of the Federal Rules of Civil

Procedure permits a court to order the plaintiff to pay costs associated with the previous

action. Fed. R. Civ. P. 41(d)(1). To recover costs, a party must show that (1) the plaintiff’s

previous action was dismissed; (2) the plaintiff filed a second action based on the same

claim against the same defendant; and (3) the defendant incurred costs and attorneys’

fees in the previous action that will not be useful in the subsequent litigation. Siepel v.

Bank of Am., N.A., 239 F.R.D. 558, 563 (E.D. Mo. 2006) (citations omitted). The award of

costs under Rule 41(d) is intended to deter forum‐shopping and vexatious litigation.

Simeone v. First Bank Nat’l Ass’n, 971 F.2d 103, 108 (8th Cir. 1992). Attorneys’ fees are a

recoverable cost under Rule 41(d). Kent v. Bank of Am., N.A., 518 F. App’x 514, 517 (8th



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Cir. 2013) (holding that the district court did not abuse its discretion by awarding

attorneys’ fees under Rule 41(d)).

       An award of attorneys’ fees and costs is warranted here. The “same defendant”

element is satisfied as to the City—Peterson sued the City in the second federal suit and

also in the present suit.5 See Peterson v. City of N. St. Paul, No. 20‐CV‐854 (ECT/KMM), (D.

Minn.). So too is the “same claim” element. In the second federal suit, Peterson also sued

the City for a procedural due process violation based on Attorney Olson’s review of one

of Peterson’s complaints. Id., ECF No. 13 ¶¶ 50–57. Finally, the Court finds that the City

incurred costs in that suit that will not be useful here. For one, the City had to brief several

issues that were not relevant in this case. E.g., id., ECF No. 11 at 8–18 (briefing Peterson’s

Fourth Amendment claim), 19–22 (addressing Peterson’s substantive due process claim).

The City also had to adjust its motion to dismiss after Peterson amended his Complaint,

and it had to prepare for and attend a hearing regarding the motion to dismiss. Id., ECF

Nos. 16, 23.

       Further, awarding attorneys’ fees and costs is consistent with the purpose of

Rule 41(d)—preventing vexatious litigation. Simeone, 971 F.2d at 108. This is Peterson’s

third suit stemming, in some form, from the January 2014 incident. He has filed or




5The addition of other defendants in this suit is irrelevant. Simeone v. First Bank Nat’l
Ass’n, 125 F.R.D. 150, 154 (D. Minn. 1989) (“The addition of new defendants in a second
suit . . . does not preclude the Court from awarding costs to one who was a party to the
previous action.”).


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attempted to file six different complaints, but all three of his suits have met the same

fate—dismissal. At the hearing, Peterson’s counsel admitted that he was learning about

Section 1983 claims on the fly. The City (and, by extension, its taxpayers) should not have

to foot the bill for Peterson’s counsel’s learning curve. Such persistent meritless litigation

is surely vexing for the City and its employees, and awarding fees in this scenario will

serve the purpose of Rule 41(d) by deterring future vexatious litigation.



                                      CONCLUSION

       Based on the foregoing and on all the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.     Erik Peterson’s motion to amend (ECF No. 50) is DENIED;

       2.     Robb L. Olson’s motion to dismiss (ECF No. 11) is GRANTED;

       3.     The City of North St. Paul, Tom Lauth, and Jason Ziemer’s motion to

              dismiss (ECF No. 17) is GRANTED;

       4.     The City of North St. Paul, Tom Lauth, and Jason Ziemer’s motion for

              attorneys’ fees and costs (ECF No. 29) is GRANTED; and

       5.     Erik Peterson’s Complaint (ECF No. 1) is DISMISSED WITH PREJUDICE.

       6.     The City of North St. Paul, Tom Lauth, and Jason Ziemer shall, within 30

              days of receipt of this order, submit a request for attorneys’ fees with

              documentation of fees incurred.




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LET JUDGMENT BE ENTERED ACCORDINGLY.




Dated: November 10, 2021                 BY THE COURT:

                                         s/Nancy E. Brasel
                                         Nancy E. Brasel
                                         United States District Judge




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